Case 1:04-CV-01325-TBR-STA Document 30 Filed 04/22/05 Page 1 of 2 Page|D 36

IN THE UNITED STATES DISTRICT COURT 0 wo&_
FOR THE WESTERN DISTRICT OF TENNESSEE 4&938 "Z%?

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UNITED STATES OF AMERICA NO. 1-04-1325-T~An {CW

Petitioner,
v.
DORIS BINGHAM,

Respondent.

 

ORDER CLOSING CASE

 

It appearing to the Court that the above-referenced
respondent, has substantially complied with the requirements set
forth in the September 7, 2004, Internal Revenue Service Summons,

and therefore this case is hereby closed.

QWMA'Q"M

JAME TODD
UNIT STATES DISTRICT JUDGE

Q~SM 96’05’

DATE

IT IS SO ORDERED,

Thls document entered on the docket sheet 111 compliance
with Flule 58 andlor 79 (a) FHCP on 199 ’

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ESSEE

 

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Honorable Thomas Russell
US DISTRICT COURT

